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                   Exhibit A
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 1
                                 UNITED STATES DISTRICT COURT
 2
                            NORTHERN DISTRICT OF CALIFORNIA
 3
                                    SAN FRANCISCO DIVISION
 4
                                                 Case No. 3:22-cv-3580-WHO
 5   IN RE META PIXEL HEALTHCARE
     LITIGATION                                  PUTATIVE CLASS ACTION
 6
                                                 STIPULATED ORDER RE:
 7                                               DISCOVERY OF ELECTRONICALLY
                                                 STORED INFORMATION
 8   This Document Relates To:
                                                 Action Filed: June 17, 2022
 9
     All Actions
                                                 Honorable Judge William H. Orrick
10
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 1
               1.     PURPOSE
 2
               This Order will govern discovery of electronically stored information (“ESI”)
 3
     (“eDiscovery”) in this case as a supplement to the Federal Rules of Civil Procedure, this Court’s
 4
     Guidelines for the Discovery of Electronically Stored Information, and any other applicable orders
 5
     and rules.
 6
               2.     COOPERATION
 7
               The parties are aware of the importance of cooperation and commit to cooperate in good
 8
     faith throughout the matter consistent with this Court’s guidelines for the discovery of ESI.
 9
               3.     DEFINITIONS
10
               a)     “Electronically stored information” or “ESI,” as used herein, has the same
11
     meaning as in Federal Rules of Civil Procedure 26 and 34.
12
               b)     “Media” means an object or device, real or virtualized, including but not limited
13
     to a disc, tape, computer or other device, on which data is or was stored.
14
               c)     “Non-Party” means any natural person, partnership, corporation, association, or
15
     other legal entity who is not a Party (as defined below) in this action.
16
               d)     “Party” means any party to this action, including all of its officers, directors, and
17
     employees.
18
               e)     “Producing Party” means a Party or Non-Party that produces ESI in this action.
19
20             f)     “Receiving Party” means a Party that receives ESI from a Producing Party in this

21   action.

22             4.     LIAISON

23             The Parties have identified liaisons to each other who are and will be knowledgeable about

24   and responsible for discussing their respective ESI. Each e-discovery liaison will be, or have access

25   to those who are, knowledgeable about the technical aspects of e-discovery, including the location,

26   nature, accessibility, format, collection, search methodologies, and production of ESI in this

27   matter. The Parties will rely on the liaisons, as needed, to confer about ESI and to help resolve

28   disputes without court intervention.



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 1           5.        PRESERVATION

 2           The Parties are obligated to identify, locate, maintain and preserve evidence that they know

 3   or reasonably should know is relevant to any claim or defense in the action. “[A]s soon as a

 4   potential claim is identified, a litigant is under a duty to preserve evidence which it knows or

 5   reasonably should know is relevant to the action.” Rockman Co. (USA), Inc. v. Nong Shim Co.,

 6   Ltd, 229 F. Supp. 3d 1109, 1122 (N.D. Cal. 2017) (Orrick, J.) (quoting In re Napster, 462 F. Supp.

 7   2d 1060, 1067).

 8           If a Party seeks to be relieved of the obligation to preserve certain relevant evidence, it may

 9   file a motion for a protective order seeking to be relieved of that obligation for specific relevant

10   evidence. The Party that seeks the protective order shall bear the burden of demonstrating good

11   cause and a particular need for a protective order to not preserve relevant evidence. Al Otro Lado,

12   Inc. v. Nielsen, 328 F.R.D. 408, 415 (S.D. Cal. Sept. 17, 2018); Manual for Complex Litigation §

13   11.442 (“[T]he party seeking destruction should be required to show good cause before destruction

14   is permitted.”)

15           Before filing a motion for a protective order to be relieved of the obligation to preserve

16   certain relevant evidence, the Party seeking that relief shall provide a precise description to the

17   other Party of the relevant evidence that the Party seeks not to preserve, including identifying (1)

18   the sources of data for that relevant evidence; (2) how the sources of that relevant data may be

19   searched, extracted, or preserved; (3) whether alternatives to the preservation of the relevant data

20   from the identified source exist and, if so, how those alternatives can be utilized by the Parties; (4)

21   specific information regarding costs and burdens of preservation, (5) the Party’s asserted good

22   cause and particular need to stop preserving the evidence, and (6) whether the Party will stipulate

23   that the elements of the other Parties’ claims or defense (or prerequisites to class certification under

24   Federal Rule of Civil Procedure 23(a) or (b)) that would rely, in whole or in part, on the evidence

25   that it seeks to stop preserving are automatically established, and to stipulate that it waives any

26   claims or defenses (including defenses to class certification) that rely in whole or in part on the

27   absence of the evidence that it seeks to stop preserving.

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 1          The other Party retains all rights to oppose the motion for a protective order. Nothing in

 2   this Protocol shall be construed to permit a Party to destroy or fail to retain any materials relevant

 3   to any complaint filed in this matter, including event level data.

 4          6.      SEARCH

 5          (a) Data Sources: The Producing Party will identify the sources and types of ESI that it

 6   believes will be sources of potentially relevant information. The Producing Party will propose a

 7   method to search each such source or type of ESI to identify responsive information. For example,

 8   the Producing Party will propose which sources or types of ESI that it will search with custodial

 9   searches and search terms. The Receiving Party may propose additional, or alternative, sources

10   and types of ESI to search, and methods to search. The Parties will meet and confer regarding the

11   sources and types of ESI they believe will be sources of potentially relevant information, and the

12   appropriate methods to search such ESI in order to identify responsive information. The sources

13   and types of ESI that the Producing Party will search, and the methods for searching them, will be

14   subject to negotiation and input from the Receiving Party. Any disputes may be presented to the

15   Court for resolution in accordance with Judge DeMarchi’s Standing Order.

16          (b) Custodians: The Producing Party will propose initial custodians whose ESI will subject

17   to search to identify potentially relevant information. The Receiving Party may propose additional,

18   or alternative, initial custodians whose ESI will be searched. The Parties will meet and confer

19   regarding the initial custodians whose ESI will be subject to search. The initial custodians will be

20   subject to negotiation and input from the Receiving Party. Any disputes regarding custodians may

21   be presented to the Court for resolution in accordance with Judge DeMarchi’s Standing Order.

22          (c) Search Terms: Each Producing Party may use search terms to locate potentially relevant

23   documents. In the first instance, the Producing Party will propose initial search terms to search its

24   ESI. The Producing Party will provide a hit report for its proposed search terms, which includes,

25   separately, unique hits, and unique hits with families. The Producing Party will also provide the

26   count of the total number of responsive documents containing unique hits and the count of the total

27   number of documents with unique hits with families, so as to avoid potential confusion regarding

28   the total number of documents to be reviewed for potential production, where some documents
                                                      -3-
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 1   may contain hits for multiple unique terms. The Producing Party may also provide the Receiving

 2   Party with a “null set” sample so long as the creation of the “null set” sample does not cause a

 3   substantial delay in the negotiation of search terms.

 4          The Receiving Party may propose additional, or alternative, initial search terms. The

 5   Producing Party will provide a hit report for the Receiving Party’s proposed search terms, which

 6   includes, separately, unique hits, and unique hits with families. The Producing Party will also

 7   provide the count of the total number of responsive documents containing unique hits and the count

 8   of the total number of documents with unique hits with families, so as to avoid potential confusion

 9   regarding the total number of documents to be reviewed for potential production, where some

10   documents may contain hits for multiple unique terms. The Parties will meet and confer regarding

11   the initial search terms. The initial search terms will be subject to negotiation and input from the

12   Receiving Party. Any disputes regarding custodians may be presented to the Court for resolution

13   in accordance with Judge DeMarchi’s Standing Order.

14          (d) Technology Assisted Review: Neither Party will utilize technology-assisted review to

15   filter out their potentially responsive ESI without agreement of the other Party or a Court order.

16          (e) After an agreement or Court order regarding the initial search terms and custodians,

17   Parties may request additional search terms or custodians. Such requests must be made in good

18   faith. Disputes over additional search terms or custodians may, after a meet and confer, be

19   presented to the Court for resolution in accordance with Judge DeMarchi’s Standing Order.

20          (f) Agreement on a search methodology does not relieve a Party of its obligation under the

21   Federal Rules of Civil Procedure to conduct a reasonable search and produce all relevant and

22   responsive documents of which a Party is aware or should be aware with exercise of diligent

23   investigation, regardless of whether they contain search terms or are retrieved by some other search

24   methodology agreed to by the Parties or ordered by the Court.

25          (g) Searches of custodial databases using search terms do not relieve a Party of the

26   obligation to (a) search non-custodial databases and (b) collect documents without using search

27   terms. The Parties will work cooperatively to identify the requests for production that have

28   responsive documents that can and should be collected from non-custodial repositories. The Parties
                                                     -4-
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 1   will work cooperatively to identify the requests that have responsive documents that can and

 2   should be collected without using search terms. The Parties will cooperate in the exchange of

 3   information concerning non-custodial databases that are likely to contain responsive information

 4   to facilitate discussions regarding what data will be produced from those databases. Dispute over

 5   searches of non-custodial databases or collection of documents without search terms may, after a

 6   meet and confer, be presented to the Court for resolution in accordance with Judge DeMarchi’s

 7   Standing Order.

 8          (h) The Producing Party may not redact portions of documents for relevancy without the

 9   agreement of the Receiving Party.

10          7.      DE-DUPLICATION AND EMAIL THREADING

11          (a)     De-duplication: Each Producing Party is required to produce only a single copy of

12   a responsive document and each Producing Party may de-duplicate responsive ESI (e.g., based on

13   MD5 hash values at the document level) across custodians, provided that metadata is produced

14   indicating all of the Custodians with whom a copy of the responsive document was associated.

15   For emails with attachments, the hash value is generated based on the parent/child document

16   grouping. To the extent that de-duplication through MD5 hash values is not possible, the Parties

17   shall meet and confer to discuss any other proposed method of de-duplication.

18          (b)     Email Threading: Where multiple email messages are part of a single chain or

19   “thread,” a Producing Party may produce the most inclusive message (“Last In Time Email”) and

20   need not produce earlier, less inclusive email messages or “thread members” that are fully

21   contained, including attachments and including identical senders and recipients, within the Last In

22   Time Email, provided that the Producing Party discloses the specific eDiscovery production

23   platform (e.g., Relativity Server 2022) along with the processing options that it is using for

24   threading, and the following conditions are met:

25
        1. Any attachment to any email in the thread must be an attachment to all emails in the thread
26
            (so the Receiving Party may determine when an attachment entered the thread);
27
        2. Any participant with a role (sender, to, cc, bcc) in any email in the thread must have some
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 1          role in every email in the thread (so the burden of determining whether and when individual

 2          participants entered or left or re-entered a thread is not imposed on the Receiving Party);

 3      3. With the exception of the added prefixes “Re:” or “Fw:”, all emails in the thread must have

 4          the same subject line; and

 5      4. The full body text of every email in the thread must be included in the produced document

 6          (so the receiving party may review emails in the thread in the original context of the order

 7          in which the emails were delivered).

 8   Only in-thread email messages for which the entire thread meets the above-conditions will be

 9   considered less inclusive email messages that need not be produced. A Receiving Party may

10   request the production of specified in-thread emails that were withheld from production because

11   they were included in a produced in a “Last In Time Email” and the Producing Party may not

12   unreasonably deny such a request.

13          Where a Last In Time E-Mail is produced, the Producing Party will include metadata

14   corresponding to the following metadata fields for each of the earlier thread members fully

15   contained within the Last In Time E-mail: Sent Date, Sender, Recipient, CC, BCC, and Subject.

16          8.      PRODUCTION FORMATS

17          Appendix A sets forth technical specifications that govern the form of production of

18   documents in this litigation. If particular documents warrant a different format, the Parties will

19   cooperate to arrange for the mutually acceptable production of such documents.

20          The Parties agree not to degrade the searchability of documents as part of the document

21   production process. The Parties agree to meet and confer in good faith to address any issues that

22   may arise in this regard, and to seek judicial intervention only if their efforts to resolve the issues

23   on an informal basis are unsuccessful.

24          To the extent any data, ESI, or documents requested in discovery are not reasonably usable

25   absent translation by the Producing Party or its systems, the Parties shall meet-and-confer

26   regarding translation by the Producing Party into a reasonably usable form and the production of

27   legends or keys employed to translate the data.

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 1          9.     DOCUMENTS PROTECTED FROM DISCOVERY

 2          (a)    Communications involving trial counsel of record that post-date the filing of the

 3                 complaint not need be placed on a privilege log.

 4          (b)    The Parties agree to furnish logs that comply with Fed. R. Civ. P. 26(b)(5) and any

 5                 other legal requirements for all documents withheld or redacted on the basis of

 6                 privilege, attorney work product, or similar doctrines. Privilege logs will be

 7                 produced in Microsoft Excel.

 8          (c)    The Parties will negotiate interim and final deadlines for the production of privilege

 9                 logs that permit any disputes about claims of privilege or work product protection

10                 to be addressed in advance of the close of fact discovery. If the parties are unable

11                 to agree on specific dates for interim and final deadlines for the production of

12                 privilege logs, the Parties may ask the Court to resolve the dispute.

13

14          10.    MODIFICATION

15          This Stipulated Order may be modified by a Stipulated Order of the Parties or by the Court

16   for good cause shown.

17

18

19
            IT IS SO STIPULATED, through Counsel of Record.
20

21
      Dated:
22                                  Attorneys for Plaintiffs
23                                  By:
                                    Jason “Jay” Barnes
24
                                    SIMMONS HANLY CONROY LLC
25                                  Jason ‘Jay’ Barnes (admitted pro hac vice)
                                    An Truong (admitted pro hac vice)
26                                  Eric Johnson (admitted pro hac vice)
                                    Jennifer Paulson (admitted pro hac vice)
27

28                                  By:

                                                    -7-
     Case 3:22-cv-03580-WHO Document 235-1 Filed 05/10/23 Page 10 of 20



                              Geoffrey Graber
 1
                              COHEN MILSTEIN SELLERS & TOLL PLLC
 2                            Geoffrey Graber, State Bar No. 211547
                              Eric Kafka (admitted pro hac vice)
 3                            Claire Torchiana. State Bar No. 330232
 4

 5
                              By:
 6                            Beth E. Terrell

 7
                              TERRELL MARSHALL LAW GROUP PLLC
 8                            Beth E. Terrell, State Bar No. 178181

 9
                              By:
10                            Jeffrey A. Koncius
11                            KIESEL LAW LLP
                              Jeffrey A. Koncius, State Bar No. 189803
12                            Paul R. Kiesel, State Bar No. 119854
                              Nicole Ramirez, State Bar No. 279017
13

14
                              By:
15                            Andre Mura

16                            GIBBS LAW GROUP LLP
                              Andre M. Mura, State Bar No. 298541
17                            Rosemary M. Rivas, State Bar No. 209147
                              Hanne Jensen, State Bar No. 336045
18

19     Dated:

20                            Attorneys for Defendant Meta Platforms, Inc.
21                            GIBSON, DUNN & CRUTCHER LLP
22                            LAUREN R. GOLDMAN (pro hac vice)
                              lgoldman@gibsondunn.com
23                            200 Park Avenue
                              New York, NY 10166
24                            Telephone:   (212) 351-4000
                              Facsimile:   (212) 351-4035
25

26                            ELIZABETH K. MCCLOSKEY (SBN 268184)
                              emccloskey@gibsondunn.com
27                            ABIGAIL A. BARRERA (SBN 301746)
                              abarrera@gibsondunn.com
28                            555 Mission Street, Suite 3000
                                            -8-
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                                 San Francisco, CA 94105
 1                               Telephone:    (415) 393-8200
 2                               Facsimile:    (415) 393-8306

 3                               TRENTON J. VAN OSS (pro hac vice)
                                 tvanoss@gibsondunn.com
 4                               1050 Connecticut Avenue, N.W.
                                 Washington, DC 20036-5306
 5
                                 Telephone:   (202) 955-8500
 6                               Facsimile:   (202) 467-0539

 7                               COOLEY LLP
                                 MICHAEL G. RHODES (SBN 116127)
 8                               rhodesmg@cooley.com
                                 KYLE C. WONG (SBN 224021)
 9
                                 kwong@cooley.com
10                               CAMERON J. CLARK (SBN 313039)
                                 cclark@cooley.com
11                               CAROLINE A. LEBEL (SBN 340067)
                                 clebel@cooley.com
12                               3 Embarcadero Center, 20th Floor
                                 San Francisco, CA 94111-4004
13
                                 Telephone: (415) 693-2000
14

15          IT IS ORDERED that the forgoing Agreement is approved.

16
       Dated:
17
                                             UNITED STATES DISTRICT JUDGE
18

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                             APPENDIX 1: PRODUCTION FORMAT
 1
           1.     Production Components. Except as otherwise provided below, ESI shall be
 2
                  produced in accordance with the following specifications:
 3

 4                (a) an ASCII (or UTF8) delimited data file (.DAT) using standard delimiters;
 5
                  (b) an image load file (.OPT) that can be loaded into commercially acceptable
 6
                      production software (e.g., Concordance or Relativity) that shall contain the
 7
                      following comma-delimited fields: BEGBATES, VOLUME, IMAGE FILE
 8
                      PATH, DOCUMENT BREAK, FOLDER BREAK, BOX BREAK, PAGE
 9
                      COUNT;
10

11                (c) TIFF images;
12
                  (d) native files; and
13

14                (e) document level .TXT files for all documents containing extracted full text or
15                    OCR text.
16
                  In addition:
17

18                (a) Parent-child relationships will be maintained in production. Parent-child
19         relationships include association between an attachment and its parent document, or
20         between embedded documents and their parent, or between a document with document
21         stubs or links to internal or non-public documents and those stubbed out documents or
22         internal or non-public documents so linked.
23
                  A document and all other documents in its attachment range, emails with
24
           attachments, files with extracted embedded files or OLE documents, and email or other
25
           documents together with any documents referenced by document stubs or via links to
26
           internal or non-public document sources within those emails or other documents, all
27
           constitute family groups. If any member of a family group is produced, all members of
28
                                                  -10-
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 1         that group must also be produced or else logged as privileged, and no such member shall

 2         be withheld from production as a duplicate.

 3
                  (b) If a particular document warrants a different production format, the Parties
 4
           will cooperate in good faith to arrange for a mutually acceptable production format.
 5

 6         2.     Production Media and Access Controls. Documents shall be encrypted and

 7                produced through electronic means, such as secure file sharing methods (e.g.,

 8                FTP), or on CD, DVD, flash drive or external hard drive (“Production Media”).

 9                Each piece of Production Media shall identify a production number corresponding

10                to the production volume (e.g., “VOL001”). Each piece of Production Media shall

11                also identify: (a) the case caption; (b) the following label: “This media contains

12                material subject to Court Ordered security measures”; (c) the Producing Party’s

13                name; (d) the production date; and (e) the Bates Number range of the materials

14                contained on the Production Media.

15                Nothing in this Order will preclude or impair any and all protections provided to

16                any Party or Non-Party by any Protective Order(s) agreed and entered into by the

17                Parties. Any data produced by the Producing Party must be protected in transit, in

18                use, and at rest by all in receipt of such data. Parties will use best efforts to avoid

19                the unnecessary copying or transmittal of produced documents. Any copies made

20                of produced data must be kept on media or hardware employing whole-disk or

21                folder level encryption or otherwise secured on information systems and networks

22                in a manner consistent with the best practices for data protection. If questions

23                arise, Parties will meet and confer to ensure security concerns are addressed prior

24                to the exchange of any documents.

25
           3.     Data Load Files/Image Load Files. Each TIFF in a production must be
26
                  referenced in the corresponding image load file. The total number of documents
27
                  referenced in a production’s data load file should match the total number of
28
                                                    -11-
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 1                   designated document breaks in the image load file(s) in the production. The total

 2                   number of pages referenced in a production’s image load file should match the

 3                   total number of TIFF files in the production. All images must be assigned a

 4                   unique Bates number that is sequential within a given document and across the

 5                   production sets. The Bates Numbers in the image load file must match the

 6                   corresponding documents’ beginning Bates numbers in the data load file. The

 7                   total number of documents in a production should match the total number of

 8                   records in the data load file. Load files shall not vary in format or structure within

 9                   a production, or from one production to another.

10           4.      Metadata Fields and Metadata File1. Each of the metadata and coding fields set

11                   forth below that can be extracted shall be produced for each document. A

12                   Producing Party is not obligated to populate or edit manually any of the fields

13                   below if such fields cannot be extracted from a document, with the exception of

14                   the following: (a) BEGBATES, (b) ENDBATES, (c) BEGATTACH, (d)

15                   ENDATTACH, (e) PRODVOL, (f) ALLCUSTODIAN(S), (g)

16                   CONFIDENTIALITY, (h) REDACTIONS, (i) NATIVEFILEPATH, (j)

17                   TEXTFILEPATH, and (k) HASHVALUE, which should be populated by the

18                   Producing Party or the Producing Party’s vendor. The Producing Parties will

19                   make reasonable efforts to ensure that metadata fields automatically extracted

20                   from the documents correspond directly to the information that exists in the

21                   original documents. The metadata shall be delimited according to the following

22                   characters:

23                   ●      Delimiter = ¶ (ASCII:020)

24                   ●      Text-Qualifier = þ (ASCII:254)

25                   ●      New Line = ® (ASCII:174)

26                   ●      Multi-value delimiter - ; (ASCII Code 059)

27
      1
28     The Parties reserve the right to request that additional metadata fields are added as discovery
      progresses.
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 1             Field Name                            Field Description

 2                              Beginning Bates number as stamped on the production
       BEGBATES                 image
 3
       ENDBATES                 Ending Bates number as stamped on the production image
 4                              First production Bates number of the first document in a
       BEGATTACH                family
 5
                                Last production Bates number of the last document in a
 6     ENDATTACH                family
 7     PRODVOL                  Production volume
 8                              Individual(s) from whom the document was obtained and
       ALLCUSTODIAN(S)
                                de-duplicated out during global de-duplication
 9

10     CONFIDENTIALITY          Confidentiality designation assigned to document

11     NATIVEFILEPATH           Native File Link (Native Files only)

12     TEXTFILEPATH             Path to extracted text/OCR file for document

13     HASHVALUE                MD5 hash value of document

14                              The file name(s) of the attachment(s) to a parent
       ATTACHNAME
                                document(s). Separated by a semicolon.
15
                                Any value populated in the Author field of the document
       AUTHOR
16                              properties

17     DOCDATE                  Date the document was created (format: MM/DD/YYYY)

18                              Date when document was last modified according to
       DATEMODIFIED             filesystem information (format: MM/DD/YYYY)
19
       FILENAME                 Original file name
20
                                Original path to the individual source file. Includes path up
       FILEPATH
21                              to and including internal path of containers
                                Any value populated in the Title field of the document
22     TITLE                    properties
23                              File extension of document pulled from the document
       DOCEXT                   properties
24
       EMAIL SUBJECT            Subject line of email pulled from the document properties
25
       FROM                     The sender of the email
26
                                All recipients that were included on the “To” line of the
27     TO                       email
28
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 1                Field Name                                  Field Description

 2                                       All recipients that were included on the “CC” line of the
       CC
                                         email
 3
                                         All recipients that were included on the “BCC” line of the
 4     BCC
                                         email
 5                                       Date and time email was received (format:
       DATETIMERECEIVED
                                         MM/DD/YYYY HH:MM SS)
 6
                                         Date and time email was sent (format: MM/DD/YYYY
 7     DATETIMESENT
                                         HH:MM SS)
 8
       REDACTIONS                        Indicate Yes/No if document is redacted
 9
                                         The Unique Identifier assigned by a program to a
       MESSAGE ID
10                                       Message/Communication

11                                       The number of pages of the Document, excluding the
       PAGECOUNT
                                         pages of documents in the same family
12
             5.      Processing. With the exception of time zone modification (discussed below), ESI
13
                     items shall be processed in a manner that preserves the source native file and all
14
                     of the above-referenced metadata without modification. ESI items shall be
15
                     produced with all of the metadata and coding fields set forth above.
16
                     a) Time Zone. ESI items shall be processed so as to preserve and display the
17
                     date/time shown in the document. ESI items shall be processed to reflect the date
18
                     and time standardized to a single time zone for all productions by a Producing
19
                     Party, that time zone shall be Pacific Standard Time (PST), and shall be consistent
20
                     across each Producing Party’s productions. Such standardization affects only
21
                     metadata values and does not affect, among other things, dates and times that are
22
                     hardcoded text within a file. Dates and times that are hard-coded text within a file
23
                     (for example, in an e-mail thread, dates and times of earlier messages that were
24
                     converted to body text when subsequently replied to or forwarded; and in any file
25
                     type, dates and times that are typed as such by users) will be produced in
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                     accordance with the formats set forth in this Protocol.
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 1               b) Hidden Content. ESI items shall be processed in a manner that preserves

 2               hidden columns or rows, hidden text or worksheets, speaker notes, tracked

 3               changes, comments, and other rich data (including, but not limited to

 4               strikethrough text, etc.) as displayed in the document.

 5               c) TIFFs. Unless excepted below, single page Group IV TIFFs should be

 6               provided, with at least 300 dots per inch (dpi) for all documents. Each TIFF

 7               image shall be named according to a unique corresponding Bates number

 8               associated with the respective page of a document. Each image shall be branded

 9               with the Bates number and the agreed upon confidentiality designation. Original

10               document orientation should be maintained (i.e., portrait to portrait and landscape

11               to landscape). All images will display all data visible in its native application.

12               Where the TIFF image is unreadable or has materially degraded the quality of the

13               original, the Producing Party shall provide a higher-quality TIFF image or the

14               native or original file. TIFFs shall show all text and images that would be visible

15               to a user of the hard copy documents.

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           6.    Email Families. Parent-child relationships (or “families”) that have been
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                 maintained in the ordinary course of business must be preserved.
18
           7.    Hard Copy Documents. Documents that exist only in hard copy format shall be
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                 scanned and produced as TIFFs. Unless excepted below, documents that exist as
20
                 ESI shall be converted and produced as TIFFs. Hard copy documents shall be
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                 produced with an accompanying metadata load file as forth above in Appendix 1,
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                 Paragraph 4, with the exception of NATIVEFILEPATH and HASHVALUE
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                 which would not exist for hard copy documents.
24
                 (a) Unitization of Paper Documents: Paper documents, to the extent collected
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                 and/or produced, should be logically unitized for production. Therefore, when
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                 scanning paper documents for production, documents should be scanned as they
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                 are kept in the regular course of business including maintaining any groupings,
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 1               distinct documents shall not be merged into a single file or database record, and

 2               distinct documents shall not be split into multiple files or database records.

 3               Producing Parties will make reasonable efforts to unitize documents as they are

 4               kept in the regular course of business.

 5               (b) File/Binder Structures (Parent-Child Unitization): Where multiple documents

 6               were organized into groups, such as folders, clipped bundles and binders, each

 7               distinct document shall be unitized as described in subsection (a) above, but

 8               maintained together in a parent-child relationship as specified in paragraph 1(a).

 9               The parties will make their best efforts to unitize parent-child groups correctly.

10               (c) Identification: Where a document or a document group – such as folder,

11               clipped bundle, or binder – has an identification spine, “Post-It Note” or any other

12               label, the information on the label shall be scanned and produced as the first page

13               of the document or grouping.

14         8.    Color. Native documents will be produced in color. For non-native documents,

15               the parties may request color copies of a reasonable number of documents where

16               color will aid in the interpretation of the document, provided that such request is

17               made in good faith and does not impose an undue burden on the Producing Party.

18         9.    Text Files. A single multi-page text file shall be provided for each document, and

19               the filename should match its respective BEGBATES filename. When possible,

20               the text of native files should be extracted directly from the native file. Text files

21               will not contain the redacted portions of the documents and OCR text files will be

22               substituted instead of extracted text files for redacted documents. A commercially

23               acceptable technology for optical character recognition “OCR” shall be used for

24               all scanned, hard copy documents and for documents with redactions.

25         10.   Native files.

26               (a) All spreadsheet (e.g., Microsoft Excel) and presentation (e.g., Microsoft

27               PowerPoint) files shall be produced as native files with TIFF placeholder images.

28               Spreadsheet files requiring redaction, including Microsoft Excel files, will be
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 1               redacted within the native file, and the redacted native file will be produced as

 2               provided herein. Presentation files requiring redaction, including Microsoft

 3               PowerPoint files, will be produced as TIFF images with redactions, and for

 4               presentations with speakers’ notes, Producing Parties shall take reasonable efforts

 5               to show both the slide and speakers’ notes for that slide on a single TIFF image.

 6               To the extent that they are produced in this action, audio, video, and multi-media

 7               files will be produced in native format.

 8               (b) Native files will be produced with a link in the NATIVEFILEPATH field,

 9               along with extracted text (where extracted text is available) and applicable

10               metadata fields set forth in paragraph 4 above. A Bates numbered TIFF

11               placeholder indicating that the document was provided in native format must

12               accompany every native file.

13               (c) To the extent other types of documents are produced in this litigation, the

14               parties will meet-and-confer regarding whether production of those documents in

15               native format is feasible and appropriate.

16         11.   Confidentiality Designation. Documents produced in TIFF format will be

17               stamped with the appropriate confidentiality designations in accordance with the

18               Protective Order entered in this matter. Each document produced in native format

19               will have its confidentiality designation identified in the filename of the native file

20               and indicated on its corresponding TIFF placeholder.

21         12.   Databases and Other Structured Data.

22               a) The Parties agree to meet and confer regarding the production format for data

23               contained in databases or other structured data types, to ensure that any information

24               produced is reasonably usable by the Receiving Party and that its production does

25               not impose an undue burden on the Producing Party.

26               b) To the extent a Producing Party is constrained from producing responsive ESI

27               because of a third-party license or because software necessary to view the ESI is

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 1               hardware-dependent, the Parties shall meet and confer to reach an agreement on

 2               alternative methods to enable the Receiving Party to view the ESI.

 3         13.   Proprietary Files. To the extent a response to discovery requires production of

 4               ESI accessible only through proprietary software, the parties should continue to

 5               preserve each version of such information. The parties shall meet and confer to

 6               finalize the appropriate production format.

 7         14.   Manner of Production. All productions must be made by secure file transfer to

 8               agreed-upon email addresses. In the event the Producing Party deems it is not

 9               practical to upload a voluminous production (e.g., a production exceeding 20GB)

10               to a secure file transfer site, it shall be sent to the Receiving Party by overnight

11               mail on external hard drives, readily accessible computer(s) or other electronic

12               media (“Production Media”). Each production shall be accompanied by a cover

13               letter that identifies: (1) the Producing Party’s name; (2) the production date; and

14               (3) the Bates Number range of the materials contained on the Production Media.

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